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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )    Case No. 19-34054 (SGJ)
                             Reorganized Debtor.                       )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )    Adv. Pro. No. 21-03010 (SGJ)
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )
ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.,                            )
                                                                       )
                              Defendants.                              )
                                                                       )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned case.

        On October 5, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Highland’s Notice of Rule 30(b)(6) Deposition to Highland Capital Management
          Fund Advisors, L.P. [Docket No. 41]


Dated: October 11, 2021
                                                          /s/ Elliser Silla
                                                          Elliser Silla
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                          Exhibit A
                                                                    Adversary Service List
                                                                   Served via Electronic Mail



                  Description                           CreditorName                     CreditorNoticeName                          Email
Financial Advisor to Official Committee of                                         Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                            FTI Consulting                      O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                                                   Melissa S. Hayward, Zachery Z.    MHayward@HaywardFirm.com;
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                       A. Lee Hogewood, III              Lee.hogewood@klgates.com
Counsel for Highland Capital Management Fund
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                       Artoush Varshosaz                 artoush.varshosaz@klgates.com
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                       James A. Wright III               james.wright@klgates.com
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.   K&L Gates LLP                       Stephen G. Topetzes               stephen.topetzes@klgates.com
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London Branch                                  Latham & Watkins LLP                Tomkowiak                         sarah.tomkowiak@lw.com
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Highland Income Fund, NexPoint Strategic                                           Davor Rukavina, Esq., Julian P.   drukavina@munsch.com;
Opportunities Fund and NexPoint Capital Inc.   Munsch Hardt Kopf & Harr, P.C.      Vasek, Esq.                       jvasek@munsch.com
                                                                                                                     mclemente@sidley.com;
                                                                                   Matthew Clemente, Alyssa          alyssa.russell@sidley.com;
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                                                                                                                     preid@sidley.com;
                                                                                   Penny P. Reid, Paige Holden       pmontgomery@sidley.com;
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                             EXHIBIT B
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                                                                                         Exhibit B
                                                                                  Adversary Service List
                                                                                 Served via First Class Mail


                   Description                              CreditorName                 CreditorNoticeName                 Address1            Address2        City   State      Zip
Counsel for Highland Capital Management Fund
Advisors, L.P., NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic Opportunities                                                                        4350 Lassiter at North
Fund and NexPoint Capital Inc.                      K&L Gates LLP                    A. Lee Hogewood, III            Hills Avenue Suite 300                 Raleigh    NC      27609
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Fund and NexPoint Capital Inc.                      K&L Gates LLP                    James A. Wright III             1 Lincoln Street                       Boston     MA      02110
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Fund and NexPoint Capital Inc.                      Munsch Hardt Kopf & Harr, P.C.   P. Vasek, Esq.               3800 Ross Tower              Street       Dallas     TX      75202




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